Case 1:04-cv-05497-GBD Docupeublt@sa Filed 10/15/08 Page 1 of 15

 

 

@ AGREEMENT made this 24th day of Qctober 1994, by and between:

Elaine Steinbeck and Thomas Steinbeck

c/o McIntosh & Otis Inc. (Attention:. Eugene Winick)
310 Madison Avenue

New York, New York 10017

Jointly and severally referred to as the Author and/or Proprietor, party of the
first part (the Author"), and VIKING PENGUIN, A DIVISION OF PENGUIN BOOKS
USA INC., 375 Hudson Street, New York, New York 10014, party of the second part
(the "Publisher"), respecting:

eighteen books by John Steinbeck:
eo... Work #! THE MOON IS DOWN
Work #2. THE MOON IS DOWN (play)
Work #3 BOMBS AWAY
_Work #4. CANNERY ROW
Work #5 THE PEARL
Work #6 THE WAYWARD BUS
eS Work #7 A RUSSIAN JOURNAL
Work #8 BURNING BRIGHT
Work #9 EAST OF EDEN
Work #10 SWEET THURSDAY
Work #11 THE SHORT REIGN OF PIPPIN IV
Work #12 ONCE THERE WAS A WAR
e ©} “Work #13 THE WINTER OF OUR DISCONTENT
Work #14 TRAVELS WITH CHARLEY
Work #15 AMERICA AND AMERICANS
Work #16 LOG FROM THE SEA OF CORTEZ (with Edward F. Ricketts)
Work #17 THE SHORT NOVELS OF JOHN STEINBECK (to the extent of
THE MOON IS DOWN, CANNERY ROW, THE PEARL}
Work #18 THE PORTABLE STEINBECK (to the extent of "About Ed
® Ricketts", CANNERY ROW, EAST OF EDEN, TRAVELS
WITH CHARLEY, IN SEARCH OF AMERICA, Two Uucollecied
Stories, The Language of Awareness)

@ (each book being separately referred to as the “Work"), whereas Publisher has
published the above listed books under existing contracts and whereas for an
additional consideration the parties have agreed to enter into a new agreement
for continued publication of the above listed books, it is mutually agreed
between the Author and the Publisher with respect to each Work as follows:

EXHIBIT

@ vPro - I Melntosh & Otis Inc. 7/86 & 7/1 117840.000 jb

 
Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 2 of 15

Publication
ghts

Delivery of
Manuscript

Permissions,
Clearances

Proof
Corrections

Agreement to

@ Publish

Copyright

Ad vance

VPI - OU

PART ONE

I. The Author hereby grants and assigns to the Publisher for the remaining
term of copyright, and such renewals or extensions thereof as may now or
hereafter exist, the sole and exclusive right to publish the Work in volume form
in the English fanguage throughout the United States, its territories and
dependencies, the Philippines and Canada: such rights shall be non-exclusive in

the rest of the world outside the British Commonwealth of Nations (excluding

Canada),

The Author also grants to the Publisher such further rights as are specified
hereinafter. The phrase "in volume form" shall be defined as meaning publication
of the Work as a whole, or substantially complete, as a unit or at one time.

2. DELETED
3. DELETED
4. DELETED

5. DELETED

6. The Publisher shal! carry the original copyright registration and the
copyright renewal notices in each edition of the Work,

The Author, or the Publisher on the Author's behalf and at its option, shall
apply for renewals (if applicable to the Work) whenever they fall due. Both
parties agree to execute, at any time, all such papers and documents as may be
advisable, in the Publisher's opinion, in order to protect, assign, record,
renew, or otherwise effectuate the rights herein, whether granted to the
Publisher or reserved by the Author.

7, The Publisher shall pay to the Author, as a guaranteed advance against
and on account of all moneys accruing to him under this agreement, yearly
payments in the following amounts, such payments to be made in two equal
installments on or before April 30 and October 31 of each year. The first

payment will be made in October, 1994 or on signing of this agreement, whichever
is later. .

Year number | $214,500.
Year number 2 $214,500.
Year number 3 $189,750.
Year number 4 $189,750,
Year number 5 $189,750.

130

McIntosh & Otis Inc. 7/86 & Tf 117840.000
Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 3 of 15

Royalties:

Regular Sales

Year number 6 $165,000.
Year number 7 and thereafter* $165,000.

*Beginning in the seventh year and each year thereafter, it is understood and
agreed that the $165,000. payment will be adjusted annually by the Publisher
based on an increase in the National Consumer Price Index (the US city average
for all urban consumers) or its successor equivalent, with a cap of 10 percent
on any such annual adjustment.

The guaranteed advance shall also be aciusted annually so that if, in any year,
the carnings payable to the Author exceed the guaranteed advance for that year
("excess earnings"), the amount of the guaranteed advance for the following year
only shail be restated by adding a sum equal to the excess earnings from the
preceding year to the guaranteed advance. The annual guaranteed advance shall
not be adjusted downward for any shortfall by operation of this paragraph.

If at any time the Publisher determines that payment of the annual guarantee is
not economically feasible for Publisher to continue, the Publisher and Author
agree to negotiate in good faith as to a reduced annual guarantee. If no
agreement can be reached this agreement will terminate upon Publisher’s written
notice to the Author subject to Publisher’s right to sell off existing inventory
of the Work for a period of 18 months from the date of such termination.

All royalty payments due on account of copyright renewals signed by John
Steinbeck IV are included in and shall be apportioned from this payment.

8. Except as set forth in Clause 20, the Publisher agrees to pay the
Author a royalty on the invoiced retail price of every copy sold by the
Publisher, less copies returned (except.as set forth below):

HARDCOVER EDITION

15 percent

TRADE PAPERBOUND EDITION

VPE - OD

10 percent for the following titles -
CANNERY ROW
(whether sold separately on in 2-in-1
volume with OF MICE AND MEN; although OF MICE
AND MEN is covered by a separate agreement,
a single royalty shall apply to the
invoiced retail price of the 2-in-1 volume)
THE PEARL
(whether sold separately or in 2-in-1
volume with THE RED PONY; although THE RED PONY is
covered by a separate agreement, a single
royalty shall apply to the invoiced retail
price of the 2-in-1 volume)
EAST OF EDEN

8 percent for the following titles -
SWEET THURSDAY
TRAVELS WITH CHARLEY
THE WINTER OF OUR DISCONTENT
THE MOON IS DOWN

131

McIntosh & Otie Inc. 7/86 & 7/11  117840.000'
: Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 4 of 15

THE WAYWARD BUS :
LOG FROM THE SEA OF CORTE

‘ 7 percent for the following titles -
© BURNING BRIGHT
THE SHORT REIGN OF PIPPIN IV
ONCE. THERE WAS A WAR
THE MOON IS DOWN (Play)
RUSSIAN JOURNAL
BOMBS AWAY
AMERICA AND AMERICANS
THE SHORT NOVELS OF JOHN STEINBECK
THE PORTABLE STEINBECK

MASS MARKET PAPERBOUND EDITION

15 percent for the following titles -
CANNERY ROW
(whether sold separately or in 2-in-1
volume with OF MICE AND MEN; although OF MICE
AND MEN is covered by a separate agreement, a
single royalty shall apply to the invoiced
retail price of the 2-in-1 volume)
THE PEARL
(whether sold separately or in 2-in-!
volume with THE RED PONY; although THE RED PONY
is covered by a separate agreement, a single
royalty shall apply to the invoiced retail price
of the 2-in-1 volume)

© EAST OF EDEN

10 percent for the following titles -
SWEET THURSDAY

TRAVELS WITH CHARLEY

THE WINTER OF DISCONTENT
THE MOON IS DOWN

THE WAYWARD BUS

LOG FROM THE SEA OF CORTEZ

8 percent for the following titles -
BURNING BRIGHT
THE SHORT REIGN OF PIPPIN IV
ONCE THERE WAS A WAR
' THE MOON IS DOWN (Play)
RUSSIAN JOURNAL
BOMBS AWAY
AMERICA AND AMERICANS
THE SHORT NOVELS OF JOHN STEINBECK
THE PORTABLE STEINBECK

Copies covered by any of the following subdivisions of this Clause 8 shall not
be included in such computation. ,

of Sheets

(a) On sales of sheets to prebinders: a royalty of ten percent of the net
amount that the Publisher receives;

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Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 5 of 15

Mail order
Premium

Export/Canadian
Sales

Sales at

High Discounts

Cheap Hardcover
Edition

Sales from Later
Small Editions

Nonroyalty

(b)

(c)

(d)

{e)

(f)

(g)

On copies sold direct to the consumer through the medium of mail-order
coupon advertising or direct-by-mail circularization and on premium
sales: a royalty of five percent (5%) of the net amount that the
Publisher receives;

On copies sold in Canada, or for export, whether in bound copies or in
sheets, a royalty of ten percent (10%) of the net amount Publisher
receives.

On copies sold at discounts of more than fifty percent (50%) of
the invoiced retail price for hardcover and trade paperback editions
and at discounts of more than sixty percent (60%) of the invoiced
retail price for mass market paperback editions, a royalty of ten
percent (10%) of the net amount that the Publisher ‘receives;

Notwithstanding the foregoing, should the Publisher’s retail and whole-
sale trade discount policies ever exceed fifty percent (50%) of the
invoiced retail price for hardcover and trade paperback editions and
sixty percent (60%) of the invoiced retail price for mass market
paperback editions, the full regular royalty rate would apply on all
domestic sales governed by such policies.

On copies sold of any cheap hardcover edition which Publisher publishes
at a price not more than two-thirds of the suggested retail price, a
royalty of ten percent of the net amount Publisher receives. If the
Work is published in a single combined ("omnibus") edition with other
works by the Author, Publisher shall pay Author a pro-rata share of the
applicable royalties as set forth in this paragraph based on the
proportion the Work comprises of such omnibus edition.

On copies sold from a reprinting of three thousand (3,000) or fewer
hardcover copies or trade paperback copies or five thousand (5,000) or
fewer mass market paperbound copies made two years or more after first
publication of the Work, it being understood that such reprintings will
not be made more than once a year: one-half of the prevailing royalty
rate then in effect; this reduced royalty is provided because of the
increased cost of manufacture of small Teprintings, to enable the
Author and the Publisher to keep the Work in print and in circulation
as long as possible; and may be terminated upon six (6) months notice
from Author.

On copies furnished gratis to the Author, or for review, advertising,
sample, or like purposes, or on copies destroyed by fire or water or
other means, or on copies sold at or below cost, no royalty shall be
paid.

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_ Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 6 of 15
Author's Copies
9. The Author shall have the right to purchase copies for personal use,
but not for resale, at forty percent (40%) discount. Such purchases shail be
paid for within thirty (30) days of the date of the Publisher's invoice.

Should the Publisher decide to remainder the balance of its inventory of the
Work, it shall first offer copies to the Author at the manufacturing cost of the
last printing, and the Author shall have two weeks to respond to this offer.

Audio-Visual

10. The Publisher shall have the right in the English language (to be
exclusive or nonexclusive as specified in the grant of territory in Clause 1),
to produce, manufacture, sell, distribute, exhibit, and transmit derivative
versions of the Work in any audio form provided it is a single voice, non-
dramatic reading of the text and/or visual form provided it is a non-dramatic,
non-illustrative, non-animated display of the text only, including, without
limitation, film strips, phonograph records, tapes, telecartridges, computer
software, and other information and storage retrieval systems:

a royalty to be mutually agreed in good faith between Publisher and Author
referencing to standard industry rates;

EXCEPT with respect to the audio versions of TRAVELS WITH
CHARLEY and THE PEARL the royalty with respect to each such audio version
shall be 8 percent of Publisher’s net receipts for the First 10,000 units sold
and 10 percent of Publisher’s net receipts for all copies sold in excess of
10,000 units.

Publisher acknowledges that specifically excluded from the audiorecording rights
granted herein is the right to distribute the audiorecordings in the mail-order
rental market, such rights having already been granted by Author to Books on
Tape and with respect te CANNERY ROW and SWEET THURSDAY to
Recorded Books, but shall aot be otherwise restricted except that both the
Publisher and Books on Tape and Recorded Books shall have the nonexclusive right
to distribute the audio recordings in the library and specialty markets.

Publisher’s exercise of these rights will in no way conflict with Author's
exercise of television/motion picture rights.

Elaine Steinbeck shall have prior approval of the script and the artwork and
packaging of any audio visual versions of the Work, ,

Subsidiary
Rights
11, The Publisher shall also have the following rights in the English

language (to be exclusive or nonexclusive as specified in the territorial grant
in Clause 1), with respect to which the Publisher alone may make arrangements
with third parties on the Publisher’s own behalf, or on behalf of the Author
when necessary, and the division of the Publisher’s net receipts from the sale
or other disposition of these rights shall be as follows:
All subsidiary rights licenses, with the exception of excerpts or digests in
anthologies or other volumes pursuant to Clause LI (d), shall be subiect to the
Author’s approval, such approval not to-be unreasonably withheld, Failure of
Author/Agent to reply with any obiections within ten business days of
Publisher's inquiry shall be deemed as Author approval, See JL (a) with respect
to licensing of paperback rights,

VPI - u McIntosh & Otis Inc. 7/86 & 7/31 117840.000 )34 *
Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 7 of 15

Reprint .
(a) Paperbound* hardcover, or large-type reprint publication: fifty pertent
(50%) of said receipts to the Author and fifty percent (50%) to the
Publisher;

© * Paperbound licenses to a third party shall be subject to the approval
of the Author, or his agent acting on Author's behalf, such approval
not to be unreasonably withheld, except (i) withholding of approval
cannot be used to veto one Penguin USA paperback imprint from acquiring
rights in a competitive situation where such imprint is acting as a
third party and (b) in the event there is a proposed licensing to a
third party which is disapproved by the Author, or his agent acting on
Author's behalf, thereby putting the Work out of print and rights
subsequently revert to the Author pursuant to the provisions of. Clause
8A, the Author and/or his agent cannot license paperback rights to that
party within twelve months of Author’s, or his agent acting on Author's
behalf, disapproval of Publisher's proposed license.

Book Club
(b) Book-club publication: fifty percent (50%) of said receipts to the
Author and fifty percent (50%) to the Publisher;

First Serial
(c) DELETED

Second Serial,
Anthology, etc.

(d) Periodical! publication, including without limitation magazine, news-
paper, and digest after book publication, reprinting in whole or in
part or excerpts or digests (but not abridgemnts which are prohibited)
in anthologies or other volumes, pamphlets, etc, and public readings:

© fifty percent (50%) of said receipts to the Author and fifty percent
(50%) to the Publisher;

Audio-Visual
(ce) Reproduction of the text or any adaptation of the work, or any

derivative versions thereof, in any audio form provided.it is a single
voice, non-dramatic reading of the text and/or visual form provided it
is a non-dramatic, non-illustrative, non-animated display of the text
only (other than by motion picture, radio or television, or in storage
and retrieval systems), including without limitation film strips, pho-
nograph records, telecartridges and tapes: seventy five percent (75%)
of said receipts to the Author and twenty five percent (25%) to the
Publisher; No performance rights are granted in connection with such
rights.

Publisher acknowledges that specifically excluded from the

audiorecording rights granted herein is the right to distribute the
audiorecordings in the mail-order rental market, such rights having

already been granted by Author to Books on Tape and with respect to
CANNERY ROW and SWEET THURSDAY to Recorded Books, but shall
not be otherwise restricted except that both the Publisher and Books on
Tape and Recorded Books shall have the nonexclusive right to distribute

the audio recordings in the library and specialty markets.

Elaine Steinbeck shall have prior approval of the script and artwork
and packaging of any audio visual version of the Work.

 

VPI - Hl Mcintosh & Otis Inc. 7/86 & 7/11 117840.000 } 35
Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 8 of 15

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Radio and
Television
(f)
© Motion Picture
e@ and Dramatic
(g)
®
Data Storage
and Retrieval
® (h)
@.

Commercial Use

@

Use by the
. Handicapped
@ .
Gi)

Editions in
English Abroad

DELETED

DELETED

In the event of the disposition of performance rights, the Publisher
agrees to grant to the purchaser the privilege to publish excerpts and
summaries of the Work or of any motion picture, dramatic, or television
version of the Work, in the aggregate not to exceed ten percent (10%)
of the text (but not more than 7,500 words), for advertising and ex-
ploiting such rights, provided that all steps necessary to protect the
copyright of the Work are taken and that the Publisher is credited as
the publisher of the Work.

Use of the text only in non-dramatic, non-illustrative, non-animated
display through computer software and in other information storage and
retrieval systems, whether through computer, mechanical, or other ¢lec-
tronic means now known or hereafter invented and ephemeral screen-
flashing or reproduction thereof, whether by printout, photo-reproduc-
tion or photocopy, including without limitation punch cards, microfilm,
magnetic tapes, or like processes attaining similar results: seventy
five percent (75%) of receipts to the Author and twenty five percent
(25%) to the Publisher;

Elaine Steinbeck shall have prior approval of the script and artwork
and packaging of any versions of the Work for data storage and
retrieval,

 

DELETED

Publication or transcription of the Work in whole or in part without
charge in braille, tapes, or other forms for use by the physically
handicapped: none.

DELETED

Translation
13. DELETED
Rights Reserved
e by Author
14, All rights not specifically granted to the Publisher under this agree-
ment are reserved by the Author.
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Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 9 of 15

Space
Advertising

Accounting and
Payment

Option on Other
Work

VPI - Il

16. Commercial advertisements (other than a list of other works published
by the Publisher or its licensees) may not be inserted or printed in any edition
of the Work without the Author’s prior written consent.

17. The Publisher agrees to render semiannual statements of accounts on a
work-by-work basis on the hardcover edition to April 30 and October 3! of each
year, on or before August 3! and February 28 following, and statements of
account on the paperbound edition publisiied by the Publisher shall be rendered
to June 30 and December 31 of each year, on or before October 31 and April 30
following, and the Publisher agrees to accompany such statements with checks in
payment of the amounts duc thereon. In making accountings, Publisher shall have
the right to allow for a reasonable reserve against returns to be defined as a
reserve sutticiemt—in tight ol the actual return percentage in the sale of the
Work and to be adjusted accordingly in cach accounting period. After two years
following the publication date regular royalty statements and payments need not
be issued by the Publisher until accumulated carnings from all sources, due and
payable, exceed $10.00, unless requested in writing by the Author. Should the
Author receive an overpayment, the Author agrees that the Publisher may deduct
such amount from any further earnings of the Work, it being understood that an
unearned advance is not an “overpayment.”

 

Works #1 - #18 will be jointly accounted and no sums, other than the yearly
guarantees duce pursuant to Clause 7, will be paid to the Author until the total
amount (cumulative from the first payment) paid in guarantees to the Author has
been earned from all sums accruing to the Author hereunder on Works #1 - #18 at
the end of cach royalty veriod,

Notwithstanding anything herein to the contrary, Publisher shall provide a
separate semiannual statementand paymentto Author for A RUSSIAN JOURNAL with
the semiannual statements and payments provided with the other Works, which
payment shall be deducted from the guaranteed advance payment provided in
paragraph 7,

 

The Author may, upon written request, examine or cause to be examined through
certified public accountants the Publisher’s books of account insofar as they
relate to the sale or licensing of the Work, provided such examinations are
limited to one per year and take place during regular business hours, Such
examination shal! be at the Author's expense, unless errors of accounting
amounting to more than five percent (5%) of the total sums accrued to the Author
shall be found to the Author's disadvantage, in which case the reasonable cost
of the examination shall be borne by the Publisher, and payment of the amount
due shall be made within thirty (30) days thereafter.

18. DELETED

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Terriination of
Previous Agreements

Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 10 of 15

19. This agreement, when signed by Author and Publisher, will cancel and
supercede the previous agreements, as amended, for the Works #! - #18 covered
hereunder.

20. Inasmuch as this agreement does not include all the contents of Work
#17 and Work #18, fifty percent of the royalty specified for Work #17, THE SHORT
NOVELS OF JOHN STEINBECK, and twenty five percent of the royalty specified for
Work #18, THE PORTABLE STEINBECK, will be due the Author hereunder.

vtis Inc. 7/86 & 7/11 117840.000 135 !
Author's
aarantee

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‘Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 11 of 15

PART TWO

1A. The Author represents and warrants that John Steinbeck is the sole
author of the Work; that the Author is the sole owner of all rights granted
hereunder; that the Author has not sold, licensed, assigned, or otherwise
encumbered, and will not sell, license, assign, or otherwise encumber, any of
such rights; that the Author has full power to enter into and to perform this
agreement; that, except for any matcrial expressly permitted or cleared pursuant
to Clause 3 of Part One, the Work is original, and is not in the public domain;
that the Work in no way violates any copyright or proprietary or contract or
personal right of others, and that it contains nothing unlawful, libelous, or
obscene. In the event of any claim, ection, or proceeding based upon an alleged
violation of any of these warranties, (a) the Publisher shall have the right to
defend the same through counsel of its own choosing; (b) the Author shall hold
harmless the Publisher, any seller of the Work, any licensee of a subsidiary
tight in the Work, and any other person to whom the Publisher or its licensees
may extend the representations and warranties contained herein in connection
with the production or distribution of the Work or the exercise of any rights
therein or derived therefrom, against any damages and expenses (including rea-
sonable fogal fees and expenses) arising from the breach or alleged breach of
any of the foregoing warranties. If any such claim, action, or proceeding is
instituted, the Publisher shall promptly notify the Author, who shall fully
cooperate in the defense thereof, and the Publisher may withhold payments of
reasonable amounts due the Author under this agreement between the parties.
These warranties and indemnities shall survive the termination of this
agreement. ,

Publisher agrees to designate Author a3 to the Work as an additional insured in
any Errors and Omissions insurance policy which Publisher may purchase at its
expense covering its book publishing activity and shall, except as limited
hereinbelow, look solely to the proceeds of such insurance coverage for payment
of any sums that may become due from Author by reason of the indemnification
undertaken by the Author hereinabove regarding risks which are covered by
Publisher's Errors and Omissions insurance policy except if the Author's breach
of warranties set forth hereinabove is done wilfully. Author’s obligation to
indemnify Publisher shall be limited to thirty-seven thousand, five hundred
doflars ($37,500) which sum is less than one-half (1/2) of the one hundred
thousand dollar ($100,000) deductible presently in effect on the Errors and
Omissions insurance policy. Notwithstanding the foregoing, Author acknowledges
that the limits of liability may effectively be decreased or exhausted as a
result of occurrences during a year related to other works and other additional
insureds and that Author’s liability to Publisher in excess of such coverage is
not affected hereby. In consideration for the foregoing, Author agrees that they
will fully cooperate with Publisher in the defense of any such claims, the
Publisher and/or its insurer shall have the right to select counsel, and that
Publisher shall have the right to‘settle any claim upon the terms and conditions
it and/or its insurer deems saii.factery.
Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 12 of 15

Defense of
Copyright .
2A. In case of any infringement of the copyright of the Work ‘by others, the

Publisher may in its discretion sue or employ such remedies as it deems expe-

© dient, and all such suits or proceedings shall be at the joint expense of Author
and Publisher, and the net proceeds of any recovery shall be divided equally
between them, but the Author shall not be liable for any expenditure for such
purposes in excess of one thousand dollars ($1,000.00) undertaken by the Pub-
lisher without the Author's previous consent in writing. If the Author does not
consent to all expenditures for such purposes, any recovery shall be divided
between the Publisher and the Author in the ratio of their respective expendi-
tures for such purposes.

Competitive
Material
3A. DELETED
Prior
Publication
4A, DELETED

'. Default by the
““" Publisher

5A. If the Publisher should fail to pay undisputed monies due or to deliver
Statements as agreed (unless such failure is due to a good-faith dispute between
the Author and the Publisher) within 60 days from the date of written demand by
the Author or his/her representatives, this agreement shall be canceled and all
: . rights in the Work granted herein shall revert to the Author forthwith and
© without further notice, and without prejudice to monies due to the Author from
the Publisher.

Author's
Property
6A. DELETED

Revised Edition
7A, DELETED

Termination of
this Agreement

8A. Should the Publisher fail to keep in print any one of Works #1 through
#18 or any of the other Steinbeck works which are the subject of a separate
agreement with Elaine Steinbeck dated October 24, 1994 and after written demand
from the Author decline or neglect to bring such Work back into print within one
year, the Publisher’s rights shall terminate hereunder as well as terminate for
the other Steinbeck works which are the subject of a separate agreement with
Elaine Steinbeck dated October 24, 1994, provided that all obligations of the
Author to the Publisher have been met. Upon the effective date of termination,
the Publisher shall have the right to dispose of any copies remaining on hand of
the in print Works and any copics in process of the Works covered hereunder as
well as any other in print or in process Steinbeck works which are the subject
of a separate agreement with Elaine Steinbeck dated October 24, 1994 subject to
@ the payment of royalties as provided hereunder and as provided in the agreement

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Termination
Under U.S, Law
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‘Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 13 of 15

with Elaine Steinbeck dated October 24, 1994. It is understood that any Work
shall be considered to be in print if any hardcover or softcover publication
rights granted hereunder are being exercised or are under contract to be
exercised.

if, at any time after first publication, the Publisher wishes to discontinue
publication for any reason of any Work which is the subject of this agreement or
a separate agreement with Elaine Steinbeck dated October 24, 1994, the Publisher
may do so upon written notice to the Author, in which event this agreement and
the other agreement for the Steinbeck works dated October 24, 1994 with Elaine
Steinbeck shall’ terminate and all rights granted hereunder shall revert to the
Author upon the termination date set forth in such notice from the Publisher. If
such termination occurs, the provisions of the immediately following paragraph
of this Clause 8A shall apply.

For thirty (30) days after the date of such termination, the Author shall have
the right, but not the obligation, to acquire from the Publisher (a) any print-
er’s materials under the control of the Publisher, at the fair market value
thereof; and/or (b) any inventory of the work under the controi of the Publish-
er, at the manufacturing cost of last printing. If the Author does not exercise
such right within such thirty (30) days, the Publisher may dispose of any such
materials or inventory without any further obligation to the Author.

9A. If Elaine Steinbeck and/or Thomas Steinbeck exercise their right to
terminate grants made to Publisher in this agreement (in accordance with Section
304(c) of Title 17 of the US. Code) and if the Terminating party(ies) fail(s)
to enter into an agreement with Publisher for Publisher to continue to publish
the terminated work(s), then Publisher may take the following actions:

1, The amount by which the Guaranteed Advance Payments exceed royalties due
and/or paid to all Authors from the date of this contract until the date a
Notice of Termination is received by Publisher ("Excess Guaranteed Payments")
shall be calculated on a work-by-work basis: (pro-rated in proportion to the
royalties generated by each work during the period). The amount of the Excess
Guaranteed Payment attributable to the terminated work (even if received by
other than the terminating party) shall be, at Publisher’s option, recoverable
by Publisher from any royalties and/or further Guaranteed Advance Payments owed
to the terminating party or parties (as pro-rated) from that date forward, on
account of the terminating party(ies)’s interest in the terminated work (if any)
during the period between notice of termination and recapture and/or on account
of the terminating party(ies)’s pro-rata interest in any non-terminated works
that are the subject of this agreement.

2. In addition to the right to recapture the excess over earnings on Guaranteed
Advances as provided above, in the event the terminating party(ies) wish to
transfer the recaptured rights to a third party, they shall first offer them to
Publisher in the following mannez:

(i) Wf terminating party(ies) decide(s) to accept a bona fide offer with
respect to all or part of the terminated work(s) then in each such instance
terminating party(ies) shall, promptly after deciding to accept such offer, give
Publisher written notice specifying such terms and conditions which terminating
party(i¢s) is(are) prepared to accept and the name(s) of the third party who
made the offer to terminating party(ies). At any time within fifteen (15) days
after receipt of such written notice from terminating party(ies), Publisher may
notify terminating party(ies) in writing of its acceptance of such offer and, in
such event, the rights referred to in such offer shall be assigned to Publisher,

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Assignment

“ Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 14 of 15

subject to Publisher’s compliance with the terms of the offer so accepted. If
Publisher shall acquire from terminating party{ies) all or part of the
terminated work(s), then both parties agree to enter into a written agreement
with respect thereto.

(ii) Hf Publisher shall elect not to purchase the terminated work(s), the
terminating party(ies) may dispose of said terminated work(s) but only to the
offerer and upon the terms and conditions specified in such notice, it being
understood and agreed that terminating party(ies) may not dispose of such rights
to any other party or upon terms aud conditions any different from those offered
to Publisher hereunder without again offering such terminated work(s) to
Publisher as herein provided.

IQA. In the event that the Publisher shall be adjudicated a bankrupt, a
receiver or a trustee shall be appointed for alf or substantially all of the
Publisher’s property, and the order appointing the receiver or trustee shall not
have been vacated within sixty (60) days from its entry, or if the Publisher
shall seek to take advantage of any so-called insolvency Jaw, all rights hereby
granted to the Publisher shall forthwith revert to the Author, and this agree-
ment shall thereupon terminate.

11A. This agreement shall be interpreted under the laws of the State of New
York applicable to contracts entirely made and performed therein, Any dispute
between the Author and the Publisher relating to this agreement and/or the Work,
if it cannot be settled by mutual agreement between the Author and the Pub-
lishes, shall be submitted solely to the Federal or State courts sitting in New
York City, or courts with appellate jurisdiction therefrom, and the Author and
the Publisher both consent to the jurisdiction and venue of such courts for such
purpose,

12A. This agreement constitutes the complete understanding of the parties,
and no waivers or modifications of any provision shall be valid unless in
writing, signed by the Author and the Publisher. The waiver of a breach or of a
default under any provision hereof shall not be deemed a waiver of any subse-
quent breach or default. The payment of any advances or royalties hereunder
shall not be deemed a waiver by the Publisher of any rights and/or claims that
it may have with respect to nonperformance by the Author of the Author's obliga-
tions hereunder. ~ ,

13A. This agreement shall be binding upon the heirs, executors, or adminis-
trators of the Author, and upon the successors and assigns of the Publisher. The
Author shall not assign this agsccment, or obligations hereunder, without the
prior written consent of the Publisher. The Publisher shall have the right on
notice to Author to assign this agreement, or its rights and obligations here-
under, only to a company acquiring all or substantially all of the Publisher's
assets, The Author shall have the right to assign any amounts due hereunder to
the extent such amounts become due after the Publisher has received written
notice from the Author of such assignment.

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Case 1:04-cv-05497-GBD Document 110-16 Filed 10/15/08 Page 15 of 15
A :

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i4A, All sums of money due under this agreement shall be paid to the
Author’s agent, McIntosh & Otis, Inc., 310 Madison Avenue, New York, New York
10017 and the receipt of the said McIntosh & Otis, Inc. shall be a good and
valid discharge of all such indebtedness; and the said McIntosh & Otis, Inc, is
hereby empowered by the Author to act in all matters arising from and pertaining
to this agreement.

The. Author does hereby irrevocably assign and transfer to McIntosh & Otis, Inc.
and McIntosh & Otis, Inc. shall retain a sum equal to ten percent (10%) out of
all monies due and payable to and for the account of the Author under this
agreement.

IN WITNESS WHEREOF the parties hereto have hercunto set their hands and seals
the day and year first above written,

IN THE PR SENCE OF: ELAINE STEINBECK
\
\ : ~ on
Claire 0. Sl bax
vo

Witness

 

 

  

THOMAS STEINBECK

2c pe Slee bode o/s

Witness Elaine Steinbeck as Attorney-in
fact for Thomas Steinbeck

v

 

 

VIKING PENGUIN

Co a WN

Witness Barbara Grossman
Senior Vice-President

Publishef, Viking ALAN J KAUFMAN
Senior Vice President & General Counsel

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